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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA,                          )
                                                       )
                                                       )
                           v.                          )
                                                       ) Case No.: 08-cr-21158 (Scola, J.)
                                                       )
    JOEL STEINGER,                                     )
                                                       )
           Defendant.                                  )

       MOTION TO REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

          Defendant, Joel Steinger, respectfully moves this Court for an order reducing his sentence

   to time served based on the “extraordinary and compelling reasons” discussed in the

   accompanying memorandum in support, pursuant to the newly amended 18 U.S.C. §

   3582(c)(1)(A)(i). In light of the coronavirus pandemic—which in part prompts his requested

   relief—Mr. Steinger’s motion can and should be handled without oral argument and on an

   expedited basis so as to save his life. Respectfully submitted,

                                                         /s/ Rebekah J. Poston
                                                         Rebekah J. Poston (Fl. Bar 0183355)
                                                         Partner
                                                         Squire Patton Boggs (US) LLP
                                                         200 South Biscayne Boulevard, Suite 4700
                                                         Miami, Florida 33131
                                                         (305) 577-7022 Direct
                                                         (305) 577-7000 Main #
                                                         (305) 577-7001 Fax
                                                         rebekah.poston@squirepb.com |
                                                         squirepattonboggs.com

                                                         Nicholas D. Smith (VA. Bar. 79745)
                                                         108 N. Alfred St.
                                                         Alexandria, VA 22314
                                                         Phone:(703)548-8911
                                                         Fax:(703)548-8935
                                                         nds@davidbsmithpllc.com
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                                        Certificate of Service

           I hereby certify that on the 18th day of March, 2020, I electronically filed the foregoing
   document with the Clerk of Court using the CM/ECF system, which will send a notification of
   such filing (NEF) to the following CM/ECF user(s):

                  AUSA Karen Rochlin
                  U.S. Attorney’s Office
                  99 NE 4th Street
                  Miami, FL 33132

          And I hereby certify that I have mailed the document by United States mail, first class
   postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].



                                                        /s/ Rebekah J. Poston
